Case 7:21-cr-00650-NSR Document 26-11 Filed 10/20/22 Page 1 of 4




                  Exhibit K
       Case 7:21-cr-00650-NSR Document 26-11 Filed 10/20/22 Page 2 of 4




Dear Honorable Judge Román,

My name is Courtney Belcher, the youngest sibling of Amanda Finn. I work at Hannaford
Supermarkets and am a student at Louisiana State University of Alexandria. I will hold a
Bachelor of Mathematics in December and will then pursue my Master’s in Mathematical
Theory.

I have known Aaron for well over ten years now. We first met while I was in high school.
We grew to be close friends as he first dated and then married my sister, Amanda Finn. I
regularly spend time with Aaron and Amanda, whether it be game night, family night, or
bonfires.

Over the years, I have owned my 2001 Chevy S10, 2006 Jeep Grand Cherokee, and 2008
Honda Accord, nothing flashy or expensive, but functional and high mileage. I loved each of
these cars for different reasons. However, purchasing vehicles above 180,000 miles comes
with its challenges. Issues include brake lines, wheel bearings, front-end suspension,
alternators, timing belts, warped rotors, calipers, and I’m sure a whole list of things I’ve
forgotten over the years.

Aaron is always my first call and I send my vehicle to his home address rather than a shop I
could not afford. Aaron always stopped whatever he was doing to get me back on the road.
He helped me find the right parts and gave me tutorials on how to install them. He also
taught me how to be more self-sufficient with my oil changes, brake pads, and rotors. Most
of the time I have known Aaron, I have either been a full-time student or a full-time
palliative caregiver. His help has saved me thousands over the years and allowed me to
focus on my studies. Even today, as he is going through this case, trying to provide
childcare, taking care of his parents, and working, he has still found time to help me replace
my front-end suspension.

While at Dutchess Community College, we lost the last of our grandparents. Amanda and
Aaron put the flights down for the funeral on their credit card and paid to have my brother
and me attend. I was so grateful for this. Attending my grandfather’s funeral allowed me to
say goodbye to my grandmother.
       Case 7:21-cr-00650-NSR Document 26-11 Filed 10/20/22 Page 3 of 4




The week I walked the stage for my graduation at Dutchess Community College, I got
another surreal call from my dad. He had stage four osteosarcoma and needed a leg
amputation. Needless to say, I deferred enrollment to Binghamton University. I moved to
Texas to provide palliative care for my dad. I was not working at the time and taking care of
his medical bills on my credit card. If I needed anything for his care, Amanda and Aaron did
not hesitate to order it right away.

Amanda and Aaron were my support line down there. They always called to check in and
came to visit dad for both Thanksgiving and Christmas that year. After a long, painful illness
we lost my father in January 2020. This was the worst day of my life. I lost my best friend.

My dad did not have a lot financially but had little things to remember him by. He had old-
time Coca-Cola merchandise, Norman Rockwell and Precious Moments collections, and
other things we associate with our childhood. Initially, based on everyone’s financial
situation, we were only going to keep what we could carry. Shipping costs and storage were
too high. Aaron did not care about money because family and memories are more
important. Yet again, he used his credit card to send our childhood memories to New York.
Additionally, he cleaned out the crawl space in his basement so we can store the totes and
tools until each of the kids is in a stable place with enough room to store them.

When I finally came home after closing out my dad’s affairs, I was lost and distraught. I had
no sense of direction and had difficulty getting up each day. Standing in my mother’s
kitchen, I had a mental breakdown and cried for what seemed like an eternity. Aaron asked
if I wanted to move in with him and Amanda. After actually asking my sister if this was
okay, I said yes, and it was the best thing I could have done.

I came from a dysfunctional childhood with addiction, divorce, and toxic relationships.
Living with Amanda and Aaron gave me an example of what an actual loving relationship
looks like. Their witty banter, reassurance, and support for one another are something I
aspire to have in my own life one day. Even when they had disagreements, they make it a
point never to go to bed without discussing things.

Aaron does a lot for his parents. Before them moving in across the street, Aaron put an
extensive amount of work into the house to make it ADA-accessible for his father. The
        Case 7:21-cr-00650-NSR Document 26-11 Filed 10/20/22 Page 4 of 4




handful of times I helped, Aaron worked tirelessly to get the home move-in ready as soon
as possible. He did all this while working full-time. He takes his father to all medical
appointments and in his current health, there are a lot. He manages his father’s
prescriptions and has spent hours on the phone with various assistance programs to help
subsidize the cost for them. The finances they receive from the government are not
sufficient to cover all their expenses. Amanda and Aaron often pay for groceries, insulin,
and any other required expense. Aaron also used his technical expertise to build an
automated lift to help his father when he falls. His assistance to his parents is invaluable.
Aaron is their primary caregiver and a future in which my sister is their sole caregiver
along with being a mother scares me. She is strong, but only human. I am assisting with
childcare now, but may not be able to dedicate as much time during my master’s program.

Fast forward to today, Aaron is such a loving dad. I had the pleasure of being there the day
my little alien nephew was born. You could see his heart melt when he got to hold          for
the first time. That look that says you are my whole world, and I am looking forward to
getting to love you for the rest of your life. As   grows up, he will know that his dad is a
hard-working, loving, and considerate person who always places family above all.

Sincerely,



Courtney Belcher
